Case 1:03-cv-01882-SEB-JMS     Document 523     Filed 06/03/09   Page 1 of 31 PageID #:
                                      14760



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


 WILBERT WIGGINS, GEORGE                  )
 DOUGLAS, JR., CHARLES MAGEE,             )
 GEORGE RODGERS and KENTON                )
 SMITH                                    )
                                          )
             Plaintiffs,                  )
                                          )
       vs.                                )
                                          )
 CITIZENS GAS & COKE UTILITY,             )       1:03-CV-1882-SEB-JMS
                                          )
             Defendant.                   )
                                          )
                                          )
                                          )

                      ENTRY & ORDER ON BENCH TRIAL


       This matter is before the Court following a bench trial which began on

 November 26, 2007, and continued through November 28, 2007. The

 conclusion of the trial was delayed due to the reopening of bankruptcy

 proceedings involving two former Plaintiffs. Prior to trial, the claims of two of

 the Plaintiffs, Todd Davidson and Eugene Smith, were bifurcated after the

 Court determined that their respective bankruptcy estates were the real parties

 in interest, which determination required notice to the trustees and additional

 proceedings in the bankruptcy court. Thereafter, the bankruptcy trustees of

 the Davidson and Smith estates reached settlements of their claims in this

 litigation, removing their claims from further consideration by the Court. We


                                         -1-
Case 1:03-cv-01882-SEB-JMS           Document 523        Filed 06/03/09      Page 2 of 31 PageID #:
                                            14761



 turn now to resolve the merits of the as yet unresolved claims of the remaining

 Plaintiffs.


                                   Procedural Background


        This case was brought by a group of African-American employees of the

 Defendant, Citizens Gas & Coke Utility (“Citizens”), and two African-American

 job applicants who were denied employment with Citizens. Together they

 claimed that they were denied employment, promotions or transfers as a result

 of an inherently discriminatory screening test1 (the “WCA”), which was utilized

 by Citizens for a period of time to inform management’s decisions as to which

 applicants should be hired and which employees were eligible to receive

 promotions or transfers to certain divisions. Plaintiffs initially sought

 certification as a class of similarly situated employees/applicants who had

 suffered injury, based on disparate impact and disparate treatment theories of

 liability.


        We denied class certification, finding that the two “applicant” Plaintiffs

 did not adequately represent the proposed class and that there were significant

 differences among the interests of the individuals who would have comprised

 the proposed class. In addition, we held that common issues did not


        1
          There were two versions of the screening test used by Citizens: The first was referred to
 as the “Baseline Test” and the latter was dubbed the “Work Competency Assessment.” Though
 the tests were quite similar, our finding of discriminatory impact, based upon statistical analysis,
 was with regard to the latter test, which we have referred to as the WCA.

                                                 -2-
Case 1:03-cv-01882-SEB-JMS          Document 523       Filed 06/03/09     Page 3 of 31 PageID #:
                                           14762



 predominate among all Plaintiffs. These class-based deficiencies were

 compounded by the adversarial inadequacies of Plaintiffs’ then-counsel who in

 addition to the class certification also sought designation as class counsel.


        After denying class certification, the Court, in an entry dated January

 18, 20072, ruled that Citizens was entitled to summary judgment on all the

 claims by the two “applicant” plaintiffs as well as the disparate treatment

 claims of all other Plaintiffs.3 However, the remaining Plaintiffs prevailed on

 liability as to their disparate impact claim, based on the incontrovertible

 statistical evidence of disproportionality. Because a prevailing plaintiff on a

 disparate impact claim is entitled only to an award of equitable relief, rather

 than money damages, the Court entered an injunction against Citizens’s use of

 the WCA as well as any and all reliance on Plaintiffs’ performance scores on the

 test.4 Recognizing that an individual Plaintiff might be entitled to other

 equitable remedies, such as back pay or placement into a specific job position

 if that Plaintiff could show that, but for his lack of success in passing the WCA,




        2
         Our entry of January 18, 2007, provides a detailed factual and legal analysis with regard
 to claims that did not survive summary judgment, including background information regarding
 the organizational structure and labor workforce at Citizens.
        3
          A claim of disparate impact in the form of unequal pay survived summary judgment
 only with respect to Plaintiff Daron Thompson. Mr. Thompson’s claims were subsequently
 settled and have now been dismissed from this action.
        4
          Citizens agreed prior to this litigation that it would cease using or administering the
 WCA as a screening device. Nonetheless, the Court has determined that Plaintiffs are entitled to
 a court ordered injunction against the future use of such information.

                                                -3-
Case 1:03-cv-01882-SEB-JMS     Document 523       Filed 06/03/09   Page 4 of 31 PageID #:
                                      14763



 he would have received such a transfer or promotion, the Court permitted

 evidence to be introduced at trial that might tend to support such an entitlement.


       Resolution of the issues before us has been substantially complicated by

 the need to determine the timeliness of the filing of each Plaintiff’s charge with

 the Equal Employment Opportunity Commission. To succeed, a Title VII claim

 brought in federal court must be preceded by the filing of a charge of

 discrimination with the EEOC or an authorized state agency within 300 days

 of the alleged discriminatory act. National R.R. Passenger Corp. v. Morgan, 536

 U.S. 101, 109-110 (2002). The purpose of this filing requirement is twofold: to

 notify the employer of the discriminatory allegation and to give the EEOC an

 opportunity to remedy the alleged unlawful conduct through informal

 conciliation. Doe v. Oberweis Dairy, 456 F.3d 704, 708-09 (7th Cir. 2006).

 Each of the Plaintiffs here filed a charge of discrimination which alleged that

 the WCA was discriminatory and that each had been denied transfers or

 promotions to posted job openings at the gas division of Citizens because of

 failing scores on the WCA. However, these individual charges were filed with

 the EEOC over the course of several months, each indicating that an

 individual Plaintiff had taken the WCA at a certain time and each had applied

 for one or more of the available job postings.


       We previously addressed the issue of the timeliness of Plaintiffs’ filings in




                                         -4-
Case 1:03-cv-01882-SEB-JMS         Document 523       Filed 06/03/09     Page 5 of 31 PageID #:
                                          14764



 resolving the summary judgment motions. Plaintiffs had argued that, because

 the WCA was the root cause of the harm and the requirement that it be taken

 was common to all Plaintiffs, a “single-filing” or “piggy-back” rule should apply

 which would allow Plaintiff Todd Davidson’s timely charge5 to serve as the

 predicate notice applicable to all Plaintiffs including him, regardless of when

 each of the other Plaintiffs actually took the test or was denied a particular

 transfer to the gas division. We draw again on our extensive analysis in that

 ruling to explain the events that led up to the trial.

        ... Unfortunately, the parties are at odds with each other on
        various predicate matters bearing on the ultimate resolution of the
        question of the timeliness of Plaintiffs’ claims. Much of the conflict
        between them centers on identifying the discreet discriminatory
        acts that actually occurred, and, when they occurred. Plaintiffs
        contend that the giving of the inherently discriminatory test was
        the triggering act in terms of the limitations period, while Citizens
        references the denial of a particular job bid as the benchmark from
        which to measure the timeliness. Our analysis brings us to the
        conclusion that both are partially correct and partially incorrect.

            The emphasis on identifying “discreet acts of discrimination”
        arises from the Supreme Court’s decision in National R.R.
        Passenger Corporation v. Morgan, 536 U.S. 101 (2002), in which
        the Court ruled that related acts of discrimination which do not
        amount to a continuing or ongoing violation do not support the
        bringing of a claim for those initial discriminatory acts which
        preceded the 300 day period for filing a charge. The Court
        emphasized that Title VII expressly references specific “discreet
        acts” or “occurrences” as the basis of prohibited discrimination.
        Id. at 111; 42 U.S.C. § 2000e-2. In effect, the Morgan decision
        permits the continuing violation doctrine to apply only to remediate
        hostile work environment or pattern and- practice claims. See
        Dandy v. United Parcel Service, Inc., 388 F.3d 263, 270 (7th Cir.


        5
         Todd Davidson was the first to file a charge of discrimination challenging the WCA on
 behalf of himself and others similarly situated. His charge was filed on July 1, 2002.

                                               -5-
Case 1:03-cv-01882-SEB-JMS    Document 523     Filed 06/03/09   Page 6 of 31 PageID #:
                                     14765



       2004). Otherwise, a plaintiff is precluded from recovery for an
       injury resulting from a discriminatory act occurring prior to the
       300-day time period. Id.

           We view the injury incurred by a Plaintiff in the case at bar to
       have arisen at the point when his failure of the test prevented him
       from being considered for promotion on the same basis as those
       who passed the test, which is to say, the point in time after the test
       was scored and the Plaintiff was notified of his failing grade.
       Computed from the date of that notice, a Plaintiff had 300 days
       within which to file his EEOC charge to seek a remedy for his
       discrimination under Title VII. The notification to him of his failed
       test result constituted the “discreet act,” as the term is used in
       Morgan, which had a disparate impact upon him. That said, we
       also hold that, when a Plaintiff was denied a specific job that he
       was otherwise qualified for but for his test score, an alternative
       300-day time period starts to run based on the “discreet act” of
       Citizens’s reliance upon the WCA score in denying him that
       position. While we have found that such a denial was not
       intentional discrimination, it too had a distinct unintentional
       discriminatory impact upon a Plaintiff.

       Clearly, the types of remedy arising from these two kinds of claims
       may differ. For example, the denial of the right to compete fairly
       may warrant an injunction or remedial decree prohibiting the use
       of the WCA test scores in order to redress the harm to potential
       applicants. Whereas, if a Plaintiff can show that he did not apply
       for a position because of his failing score and he would have been
       otherwise eligible for that promotion, he may be entitled to some
       more specific and individualized form of equitable relief. Similarly,
       the denial of a specific promotion or transfer which a Plaintiff
       actually applied for and would otherwise have qualified for but for
       his test results could position that Plaintiff to receive an award of
       back pay and/or placement in the next available similar position.
       The statute gives the Court broad discretion in assessing whether
       equitable relief is appropriate and, if so, what form it should take.


 Entry on Cross Motions for Summary Judgment, January 18, 2007 (Doc. #388),

 p. 23-25.


       We applied this analysis in the summary judgment context in determining

                                        -6-
Case 1:03-cv-01882-SEB-JMS    Document 523     Filed 06/03/09     Page 7 of 31 PageID #:
                                     14766



 the timeliness of each individual Plaintiff’s claims. We again excerpt the

 portion of our discussion addressing the “single-filing” rule:

           Plaintiffs contend that the “piggy-back” or “single-filing” rule
       applies here, which would allow any individual Plaintiff who did
       not file a charge within 300-days of a specific job denial to benefit
       from the filing of a charge by another employee with respect to his
       denial of the same position. The “piggy-back” rule references a
       court-made exception to the requirement that an individual
       claimant must timely exhaust his administrative remedies before
       being allowed to file suit. See Horton v. Jackson County Bd. of
       County Com’rs., 343 F.3d 897, 899 (7th Cir. 2003). This exception
       is based on the theory that, if the claim implicates the same
       conduct complained of by one person who did raise the alleged
       discrimination in his charge, that should suffice as to all such
       potential claimants because the purpose of the charge-filing
       requirement - namely, to provide an opportunity for the agency to
       facilitate a resolution - has been satisfied. Id. Plaintiffs maintain
       that especially in a disparate impact case such as this, that rule is
       appropriate.

           We are prepared to apply that exception to the general rule with
       respect to claims arising out of the test requirement itself, since
       there the claim and the remedy are one and the same. All
       employees seeking inter-division transfers who were made to take a
       test which disproportionately favored non-African Americans
       suffered the same wrong and, clearly, the best remedy to that
       wrong would be to enjoin the employer from relying on the test for
       selection purposes in the future. Additionally, where a single
       Plaintiff continues to have his job bids denied because of the effect
       of his test score(s), so long as he filed a charge complaining of the
       employer’s reliance on the test in connection with a job denial, no
       legitimate purpose would be served by requiring that person to file
       additional charges with each successive denial. However, where
       multiple Plaintiffs are claiming to be qualified for and entitled to
       the same position, a need arises for each individual to assert that
       specific claim in order to permit a resolution to be reached at the
       agency level, if possible. Consequently, it is our judgment that the
       “piggy-back” rule does not apply to a claim by an individual
       Plaintiff, like Wiggins, who was denied transfer or promotion to a
       job more than 300 days prior to his filing a charge with the EEOC.

 Id. at p. 27-28.

                                         -7-
Case 1:03-cv-01882-SEB-JMS     Document 523     Filed 06/03/09   Page 8 of 31 PageID #:
                                      14767



       This analysis of the timeliness of each Plaintiff’s claim led us to

 conclude that each charge was timely with respect to the discriminatory

 WCA test and, therefore, at a minimum, each Plaintiff was entitled to an order

 of injunctive relief prohibiting Citizens from ever again using the test or their

 individualized scores for any employment-related purpose. However, the

 decision as to whether any one or more of the remaining Plaintiffs qualifies for

 more than injunctive relief was left for development at trial. Based on

 the evidence adduced at trial, we enter the following findings and conclusions.


                                 Findings of Fact


       At trial, the evidence established that two job postings were critical to a

 determination of whether any Plaintiff was entitled to relief beyond the

 injunction. Both postings were made on August 21, 2001. One advertised the

 position of Gas Service Specialist (“GSS”) in the Gas Operations Center and the

 other provided notice of the position of Material Deliveryman at the same

 location. Plaintiffs George Douglas, Jr., George Rogers and former Plaintiff

 Todd Davidson all submitted bids for the GSS position, and Douglas along with

 Plaintiff Charles Magee applied for the Material Deliveryman job. Pursuant to

 the collective bargaining agreement in effect at the time, Citizens was required

 to post the availability of open or soon to be open bargaining unit positions so

 that its existing labor force had an opportunity to bid or apply for the positions

 prior to Citizens hiring from outside its current workforce. An opening in a


                                         -8-
Case 1:03-cv-01882-SEB-JMS    Document 523     Filed 06/03/09   Page 9 of 31 PageID #:
                                     14768



 particular division was offered, first, to employees within that division and then

 to employees in other divisions who had passed the WCA and were qualified for

 the position.


       Most often the WCA was administered in conjunction with or shortly

 following any job postings which needed to be filled from outside the gas

 division. An employee could take the test as often as it was offered until he

 received a passing grade. All of the remaining Plaintiffs in this lawsuit were

 employed in the manufacturing division, and the relevant job postings for

 which they were vying were positions in the gas division.


       Generally speaking, the cleaner work environment enjoyed by those

 employed within the gas division of Citizens made it the most popular of the

 three company divisions for its hourly employees, though Plaintiffs testified

 that they sought promotions or transfers to the gas division for better pay as

 well as better working conditions. When an open position was posted for which

 a bargaining unit employee sought consideration, the employee would fill out a

 “bid form” to apply. Space was provided on that form for the bidder to

 summarize his/her experience and qualifications for the particular job as well

 as his/her seniority date, current position and supervisor.


       Trial testimony established that, in 2001, Citizens was offering early

 retirement to a portion of its workforce, effective at the end of September 2001.

 Citizens anticipated that several persons holding GSS and Material

                                        -9-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09       Page 10 of 31 PageID
                                    #: 14769



 Deliveryman jobs would retire, thus creating a need to replace them. Although

 the labor agreements required that employees already working in the gas

 division have priority in filling those positions, it was anticipated that, because

 of the high number of workers accepting the retirement offers, there would not

 be sufficient replacements available from within the division. Consequently,

 job postings for these two jobs were distributed company-wide, but the number

 of openings for each job was not specified due to management’s uncertainty as

 to the precise number of persons currently occupying those positions who

 would be accepting the early retirement offers. This uncertainty, combined

 with the requirement that applicants outside the gas division pass the WCA,

 caused the procedure used to fill these job openings to include more steps

 andextend over a longer period of time than the typical process of filling a

 single opening in Citizens’ workforce.


       Ron Faudree, Distribution Operations Field Administrator, and Robert

 Hummel, Vice President for Human Resources, testified that usually a step-

 by-step process was followed by Citizens in response to the employee bids

 generated by the company-wide gas division job postings. Certain of those

 steps in the process were dictated by contractual provisions and others were

 the result of more subjective decision-making. The procedure followed by

 Citizens included the following steps:

       1.    Open jobs were offered first to those bidders who were currently
             employed in the gas division and had an acceptable disciplinary
             record. Gas division employees were not required to take the WCA

                                          -10-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09       Page 11 of 31 PageID
                                    #: 14770



             and their experience within the division was most often deemed
             sufficient to render them qualified to move into another position
             within the same division.

       2.    If openings still existed after gas division bidders had accepted
             offers, Citizens referred to the list of bidders from the two other
             company divisions who had passed the WCA and who had a
             seniority date prior to June 28, 1987. Those hired after June 28,
             1987, had no bidding rights under the existing labor contract. If a
             bidding employee from these two divisions had not passed the
             WCA or was ineligible based on his hire date, he was preemptively
             eliminated from consideration with no analysis of his specific
             qualifications conducted.

       3.    After eliminating from consideration those who had not passed the
             WCA or who had insufficient seniority, the qualifications and
             disciplinary record of each bidder were considered in order of
             seniority. Qualifications for a particular job became an issue only if
             the position was not entry-level. Thus, if the most senior bidder
             had sufficient qualifications and no current negative disciplinary
             record to raise concerns (clearly, a discretionary assessment), that
             person would be offered the job. A recent disciplinary infraction
             could, but most often did not, result in a rejection of the
             application.

       4.    If there were insufficient qualified bidders to fill the open positions,
             Citizens went outside its existing workforce to fill the remaining
             openings. Outside applicants were required to pass the WCA, as
             well as to demonstrate adequate qualifications for the positions.


       The August 21, 2001, Posting for Gas Service Specialist (GSS)


       Citizens’s gas division oversees its natural gas distribution operations.

 Most of this work is conducted in the field. A GSS responds to service issues,

 such as gas leaks, service shut-offs and turn-ons, meter inspection and

 maintenance and other similar field operations that involve interactions with

 customers. These employees also respond to emergencies. In 2001, there were


                                        -11-
Case 1:03-cv-01882-SEB-JMS         Document 523 Filed 06/03/09           Page 12 of 31 PageID
                                        #: 14771



 seven levels of hourly positions at the gas division, with level one being the

 lowest level; the GSS position was listed at level five. A GSS position was not

 differentiated by A or B designations and was not regarded as an entry level

 position.6 Pursuant to the collective bargaining agreement in effect in 2002,

 the GSS trainee position was added as an entry level position.


        In response to the August 21, 2001, job posting, Citizens received a total

 of eighteen bids, five of whom were employees within the gas division, and,

 though all five were offered positions, only one accepted. Seven bidders from

 outside the gas division were rejected because they had insufficient seniority.

 Four others were eliminated because they had not passed the WCA, including

 three of the original Plaintiffs in this lawsuit who were notified of their rejection

 for the job on September 11, 2001 (a sadly memorable day, to be sure). One bidder

 from the manufacturing division with sufficient seniority and an adequate test

 score turned down the job when it was offered, and one bidder, Louis Drane, (a

 Caucasian) with a seniority date of July 6, 1984, applied for and accepted the

 GSS job and transferred to the gas division from his job as a millwright in the

 manufacturing division.


        As the early retirement date of September 30, 2001 approached and

 Citizens tallied up all the employees who had accepted its early retirement



        6
        The letter designation of A or B distinguishes experience and higher pay: A positions
 pay more and require greater qualifications and/or experience than the B positions.

                                              -12-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09       Page 13 of 31 PageID
                                    #: 14772



 offer, it became clear from the level of vacancies that more GSS jobs would

 need to be filled. Having already posted the job opening in August 2001,

 Citizens determined that the posting satisfied the requirement under the

 collective bargaining agreement and that, given the shortage of in-house

 eligible or qualified candidates, it was justified in going outside the current

 workforce to hire “off the street.” Thus, six additional CSS positions were filled

 on October 1, 2001, from outside applicants who had some type of related

 employment experience. During the two months following the August

 21,2001, job posting, Citizens filled a total of eight GSS positions, which

 number represented more than ten percent of the entire GSS workforce.


           The August 21, 2001, Posting for Material Deliveryman


       A Material Deliveryman with Citizens operates a truck to transport

 materials, supplies and equipment to gas distribution operations in the field.

 The primary task of a material deliveryman is to operate, load and unload the

 trucks; however, they also patch roads and driveways and assist the work

 crews as necessary. This is a level two position -- in other words, not an entry-

 level position, at least as of 2001 -- and a commercial drivers license (“CDL”)

 was required. Sometime after 2001, the jobs of Material Deliveryman and

 Fitter B were combined and became an entry-level position.


       Similar to the GSS position, prior to the August 21, 2001, job posting,

 Citizens was uncertain as to the precise number of Material Deliveryman jobs

                                         -13-
Case 1:03-cv-01882-SEB-JMS      Document 523 Filed 06/03/09      Page 14 of 31 PageID
                                     #: 14773



 that would come open due to retirements. A total of twenty-two employees bid

 in response to the announced opening, including seven employees from the gas

 division: one was offered and accepted the job, three declined the job when it

 was offered, and three had no CDL and thus were rejected for that reason. The

 remaining fifteen bidders came from outside the gas division: ten were

 eliminated because they had insufficient seniority to have bidding rights, one

 had no CDL, three (including two Plaintiffs) were rejected because they had

 failed to pass the WCA, and one rejected the job offer when it was made. Thus,

 Citizens filled only one Material Deliveryman position from within the company

 and was required to hire an additional three people after the early retirement

 program was fully implemented. On October 1, 2001, three outside applicants

 who had worked for one of Citizens’s outside installation contractors were hired

 to fill the remaining positions.


                                    Timeliness


       None of the remaining (five) Plaintiffs in this action filed his charge of

 discrimination with the EEOC within 300 days of being notified that his bid for

 either or both of the available two positions had been rejected due to his

 score(s) on the WCA. None of these Plaintiffs presented evidence at trial that he

 was rejected for any other jobs within 300 days of their respective charges.

 Because no timely charge was filed by any of these Plaintiffs with regard to

 Citizens’s disqualification of them from consideration for the August 21, 2001,


                                         -14-
Case 1:03-cv-01882-SEB-JMS          Document 523 Filed 06/03/09            Page 15 of 31 PageID
                                         #: 14774



 job posting, we conclude that with regard to their entitlements to something

 more than injunctive relief barring the use of the WCA or their test scores,

 Plaintiffs’ claims jointly and severally fail. See National R.R. Passenger

 Corporation v. Morgan, 536 U.S. 101 (2002). This ruling is consistent with our

 prior analysis as set out in our January 18, 2007, order.


        We are confident that this is the appropriate resolution of the timeliness

 issue, and that there is accordingly no entitlement to any award of back-pay or

 other equitable relief by any Plaintiff. Nonetheless, we concede that in making

 this ruling, we lack the benefit of any clear precedent. Thus, we shall examine

 the merits of Citizens’s contention that, regardless of the timeliness of their

 agency charges, none of the Plaintiffs would have received the positions they

 had bid upon.


 WILBERT WIGGINS7


        Wilbert Wiggins was at the time of trial no longer an employee of

 Citizens, having been fired in December 2006 for ongoing attendance and

 performance problems, including a final incident involving his having fallen


        7
          We indicated in our January 18, 2007, order that Wiggins was not entitled to any relief
 beyond the injunction because he had made no timely claim with respect to a specific job he
 sought and was denied, and he could not “piggy-back” on Davidson’s timely charge with regard
 to the GSS posting in August of 2001. However, we allowed Wiggins to present evidence and
 request further relief at trial based upon his assertion that, “but for” his earlier WCA failing
 scores, he would have applied for and qualified for other jobs. As indicated previously, Wiggins
 has provided no evidence that he bid for jobs or would have bid for jobs that were posted during
 a time period which could have made his charge timely.

                                               -15-
Case 1:03-cv-01882-SEB-JMS      Document 523 Filed 06/03/09       Page 16 of 31 PageID
                                     #: 14775



 asleep at work. Wiggins began working for Citizens in March of 1985 and was,

 in 2001, a Yard Utility Person in the manufacturing division. He testified that

 in 2001 he wished to work in the gas division but did not bid on either the GSS

 or Material Deliveryman postings of August 21, 2001. He contends that he had

 bid on gas division jobs several times previously and had taken the WCA and

 its predecessor but each time failed the exam. By the time of the August 2001

 posting, Wiggins had become frustrated and given up on transferring to a job

 for which passing the WCA was a requirement. Nevertheless, he seeks in this

 action an award of back-pay and a back-dated seniority divisional date,

 claiming that, had it not been for his failing scores on the WCA, he would have

 bid on and received one of the available GSS positions.


       The first problem with Mr. Wiggins’s claim is that his actions were not

 consistent with his allegation that he had given up on taking the screening

 test. In fact, Wiggins initially testified at trial that he did bid on the August 21,

 2001, GSS posting, but retracted that assertion after having his “recollection

 refreshed” by his counsel. Nevertheless, he apparently was not too discouraged

 to take the WCA test in September of 2001, only a couple of weeks after the

 deadline for bidding on the GSS position, and to have again taken it in

 December of that year. In fact, prior deposition testimony by Wiggins indicates

 that he did not give up on taking the WCA until March of 2002. In addition,

 other evidence establishes that he had bid on gas division jobs as early as

 February 2001. We therefore conclude that it was not because of any feelings

                                         -16-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 17 of 31 PageID
                                    #: 14776



 of discouragement on Wiggins's part due to his having failed the WCA that he

 was kept from applying for the GSS position. Thus, his claim for back-

 pay lacks any evidentiary basis; though he did bid on other jobs, he did not bid

 on the August 21, 2001, GSS job posting. Wiggins’ claim is thus denied.




 KENTON SMITH


       Kenton Smith began working in the manufacturing division at Citizens in

 July 1984 and was a By-Product Operator in that division at the time of the

 August 21, 2001, gas division job postings. Like Mr. Wiggins, he did not

 submit a bid on either job, though he testified at trial that he was eager to

 move to the gas division. He claims that he took the WCA (more accurately, its

 predecessor version) several times in the 1990's, but gave up on taking it when

 he consistently was unable to pass it. In his testimony at trial, he said that,

 had he passed the test, he would have applied for the GSS job posting in

 August of 2001. Documentary evidence revealed that Kenton Smith did take

 but failed the WCA in December 2001, but this was after the GSS positions had

 already been filled. In August 2007, after the WCA had been discontinued,

 Smith had successfully bid on the new GSS trainee position, which is the job

 he held at the time of trial. He now seeks back-pay and a back-dated divisional

 seniority date.



                                        -17-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 18 of 31 PageID
                                    #: 14777



       Kenton Smith’s claim fails for the reason that he never took the WCA,

 that being the only test determined to be discriminatory, until well after the gas

 division positions posted in August of 2001 were filled. He contends that this

 should not matter in the sense of disqualifying him from additional relief

 because everyone referred to both of the screening tests that had been in use

 over the years as the “baseline test” and he was unaware of any difference.

 While it is true that the terms “baseline test” and “WCA” were apparently often

 used interchangeably by many hourly and management employees, it is

 unequivocally true that only the WCA has been determined by the Court to

 have had a discriminatory impact on those African-Americans who had taken it

 and failed to pass. No such ruling was made with regard to the predecessor

 test. Thus, because Kenton Smith failed the WCA well after the positions he

 says he was qualified for and should have received were filled by others, his

 claim for additional relief must also be denied.


 GEORGE ROGERS


       George Rogers began his employment with Citizens in September 1981

 and as of the date of trial remained a member of the general labor pool at the

 gas division, the labor pool having been formed following Citizens’s closure of

 its manufacturing division He was a Mason A in the manufacturing division at

 the time of the August 2001 gas division job postings. Unlike Wilbert Wiggins

 or Kenton Smith, Mr. Rogers did submit a bid when the gas division posted the


                                        -18-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 19 of 31 PageID
                                    #: 14778



 GSS position on August 21, 2001, and he took and failed the WCA the

 following day. On September 11, 2001, he was informed that he did not

 qualify to receive the GSS position. Like other Plaintiffs, his charge of

 discrimination was not filed with the EEOC within 300 days following that

 denial, which, as we have previously ruled, dooms his claim for specific relief

 due to the job denial. However, Citizens claims he would not have received the

 job even if there had been no requirement that he pass the WCA, which defense

 we examine further below.


       Citizens’s first argument in response to Rogers’s claim is the same as

 that advanced with regard to all the other Plaintiffs who bid for the GSS job

 posting in August 2001: namely, that the two GSS jobs filled in September

 2001 from within the existing workforce are the only ones at issue here, since

 those were the only two jobs filled as a result of the August 21, 2001, GSS

 posting. Therefore, even if Rogers’s charge had been timely, he and his co-

 Plaintiffs must be able to establish that they were more senior and would have

 received the job ahead of any others. However, it is clear from the testimony of

 Citizens’s own witnesses that the six GSS positions filled on October 1, 2001,

 by outside hires were in fact covered, at least contractually, by the in-house

 posting in August and that, had there been no requirement of passing the

 WCA, the qualifications of those bidders who were eliminated for failing scores

 would have been examined prior to Citizens going outside the company to fill

 the positions. All of the Plaintiffs who bid the GSS job posting had sufficient

                                        -19-
Case 1:03-cv-01882-SEB-JMS      Document 523 Filed 06/03/09      Page 20 of 31 PageID
                                     #: 14779



 seniority to have qualified to be one of the first six bidders in line for the GSS

 jobs, which would have put them ahead of any of the outside hires.

 Accordingly, we must focus our analysis on whether Rogers, or any of the other

 Plaintiffs, would have been denied the opportunity to fill one of the eight GSS

 positions covered by that posting for a reason other than their failure to pass

 the WCA.


         We know that the first GSS opening was filled by David Sharp who, as a

 gas division employee, received that slot without regard to anything that

 happened relating to any applicants from outside the division. Louis Drane, a

 manufacturing division employee, filled the second opening; his seniority date

 of July 6, 1984, put him behind George Rogers with respect to Citizens’s

 analysis of his qualifications and current disciplinary status, but Citizens

 contends that Rogers had neither the qualifications nor the blemish-free

 disciplinary record which would have qualified him for the GSS position at that

 time.


         Regarding Rogers’s disciplinary record, Citizens utilized a “stepped”

 disciplinary process, which typically began with a verbal warning. Discipline

 once meted out would remain on an hourly employee’s current record for

 twelve months. Rogers had received a verbal warning--the first disciplinary

 step--on June 18, 2001, for failing to perform his duties in a safe manner,

 towit, he had failed to adjust a valve intended to allow equipment to pass safely


                                         -20-
Case 1:03-cv-01882-SEB-JMS      Document 523 Filed 06/03/09        Page 21 of 31 PageID
                                     #: 14780



 by an oven, which infraction caused fire damage to a piece of equipment.


       Ron Faudree, the gas division management employee responsible for

 identifying and filling the available jobs in the gas division, testified that the

 use of a current disciplinary record to disqualify a job applicant was essentially

 a discretionary matter and, though he could recall a prior instance in which a

 gas division employee was disqualified from obtaining an open position, he

 could not recall an individual seeking a transfer from manufacturing to a gas

 division job ever being disqualified based upon a negative disciplinary record.


       Safety, as explained at trial, is a matter of utmost concern with regard to

 gas distribution jobs. Citizens maintains that a safety-related disciplinary

 warning such as the one received by Mr. Rogers likely would have disqualified

 him from a GSS position. We remained unconvinced by this assertion with

 respect to Mr. Rogers’ disciplinary record, even though we recognize and accept

 the paramount role that safety plays with regard to Citizens’s gas distribution

 activities. The lack of any previous disqualification of a bidder from the

 manufacturing division based on a disciplinary infraction causes us to

 conclude that Rogers would not have been disqualified either from the GSS

 position solely because he received the first-step verbal warning.


       That said, there is another safety related concern raised by Citizens that




                                          -21-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 22 of 31 PageID
                                    #: 14781



 we find to be more persuasive. In the “experience and qualifications” section of

 the bid form, George Rogers wrote “masonry work and pipefitter work.” His

 trial testimony confirmed that at the time he bid on the GSS position he had

 little background experience which qualified him for that type of work. That

 Louis Drane, the manufacturing division employee who had passed the WCA

 and was awarded one of the GSS jobs, had a comparable lack of qualifications

 and experience, is not necessarily inconsistent with Citizens’s criticisms of

 Rogers’s qualifications, however. Drane’s bid form admittedly had included

 no particularly relevant experience, and Ron Faudree conceded that, after

 Drane was awarded the job, he had to receive significant training before he was

 capable of performing all the relevant tasks. Plaintiffs contend that Drane’s

 lack of experience demonstrates that specific job qualifications and experience

 were actually irrelevant in terms of being awarded the position, but that

 argument fails to take into account the particular circumstances that existed at

 the time that Drane was awarded the job.


       By the time the decision was made to offer the GSS job to Drane, all

 applicants who had not passed the WCA had been eliminated from

 consideration, and every bidder from the gas division, other than David Sharp,

 had turned down the job offer. Thus, Citizens knew it would have to go outside

 the company to fill the additional GSS opening because, under the procedures

 in place at that time, it had available for consideration only one qualified gas

 division bidder and Drane who otherwise qualified as an in-house replacement

                                        -22-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 23 of 31 PageID
                                    #: 14782



 for what Citizens managers knew would be considerably more than two

 openings. As Faudree testified, there was no trainee position for GSS and there

 was no contractual requirement under the CBA that one be created. Citizens

 determined that it could take on the training responsibility for one person who

 lacked experience, but only because the experience level of those hired from

 outside would reduce the amount of training actually required. Those hired

 “off the street” typically had experience in HVAC or other areas of construction

 that involved gas appliances or gas line venting. Had there been no

 requirement that applicants pass the WAC and had Citizens been forced to

 train more inexperienced or unqualified in-house bidders, Faudree testified

 that he believed they could not have taken on even one additional employee

 who required such training, given that they were needing to replace more than

 ten percent of the GSS workforce. This situation would have presented major

 public safety concerns, both with regard to the entry on duty of numerous

 untrained individuals and the reduced availability of experienced individuals in

 the field whose services would have necessarily been diverted in order to train

 the inexperienced replacements.


       Faudree’s testimony in this regard is highly persuasive. In fact, in light

 of the collective bargaining agreement requirement that the assessment of

 applicant qualifications be consistent with regard to the awarding of jobs, it is

 more likely that, but for the exigent circumstances confronting Faudree and

 the others at Citizens charged with making these hiring decisions, Mr. Drane’s

                                        -23-
Case 1:03-cv-01882-SEB-JMS          Document 523 Filed 06/03/09            Page 24 of 31 PageID
                                         #: 14783



 bid would also have been turned down along with others who were not

 experienced or qualified for GSS jobs.8 Again, as Faudree testified, if no in-

 house person with the appropriate qualifications for a job was available,

 Section 13.2.5 of the applicable labor contract gave Citizens the right to fill the

 position in any manner it saw fit. If Citizens had determined, after applying a

 consistent assessment of applicant qualifications, that no Citizens employees

 from outside the gas division were qualified, Section 13.2.5 of the contract

 would have allowed Citizens to hire from outside to fill all remaining GSS

 positions.


        Thus, we conclude that, even if passing the WCA had not been a

 requirement for a manufacturing employee to fill one of the GSS positions

 posted on August 21, 2001, George Rogers would not have been qualified nor

 would he have received the job. Three of the manufacturing employees who

 had bid on the job and had greater seniority than Rogers had a lack of

 experience similar to his. Because the collective bargaining agreement required

 a consistent assessment of qualifications and because the labor agreement did

 not provide for a training position but did allow Citizens to go outside the



        8
         Viewed in the order of the most seniority utility-wide, from the highest to the least,
 those outside the gas division with sufficient seniority who bid on the GSS job were: (1) Michael
 Bralock, (2) Todd Davidson, (3) Paul McKain, (4) George Rogers, (5) George Douglas, Jr., and
 (6) Louis Drane. None of these individuals had experience in gas distribution and, while several
 claimed to be eager to be trained, none listed experience or qualifications on their bid forms
 which indicated that they could have performed the listed functions of the GSS position without
 considerable training.

                                               -24-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09       Page 25 of 31 PageID
                                    #: 14784



 company to obtain qualified replacements, public safety concerns would have

 prevented Citizens from putting all of these inexperienced individuals into GSS

 positions. Rogers is therefore not entitled to the additional relief he seeks in

 this action.


 GEORGE DOUGLAS, JR.


       George Douglas, Jr. bid on both the GSS and the Material Deliveryman

 positions in August of 2001 and, as was true of all the other Plaintiffs, he also

 was informed in September 2001 that he had been denied both positions due

 to his failure to successfully pass the WCA exam. He was a Mason A in the

 manufacturing division at the time he bid on the gas division jobs; his

 employment with Citizens had begun in July 1982. In June 2007, he moved to

 the gas division as a Fitter B/Hauler. He quickly moved up to a Machine

 Operator B position and, as of the time of trial, he was in training to become a

 Machine Operator A. He does not seek appointment to the GSS job as a

 remedy in this litigation because he prefers his current position; however, he

 does seek back-pay and a back-dated divisional seniority date. His EEOC

 charge, as we have previously ruled, was not filed within 300 days of his having

 been denied either of the two positions for which he applied in August 2001.


  Though Citizens disqualified Douglas on the basis of his WCA score, his




                                         -25-
Case 1:03-cv-01882-SEB-JMS       Document 523 Filed 06/03/09      Page 26 of 31 PageID
                                      #: 14785



 eligibility for the Material Deliveryman position would not have survived in any

 event because he did not possess a CDL. The evidence adduced at trial made

 clear that even gas division employees were refused the Material Deliveryman

 job at that time if they did not possess a CDL. In fact, in their post-trial brief,

 Plaintiffs admit that a successful bidder was required to have this special

 driver’s license at the time he bid on the Material Deliveryman position in order

 to fully qualify for the job.


       Regarding the GSS position, Douglas listed no qualifications in the

 appropriate portion of the bid form and at trial he provided virtually no

 evidence to show that he met the listed qualifications for the GSS job as of the

 date it was posted. As with Rogers, Drane and the three bidders from the

 manufacturing division with the greatest seniority, Douglas would have

 required significant training in order to satisfy Citizens’s legitimate public

 safety concerns. We hold, therefore, for the same reasons justifying our

 conclusions with regard to Rogers that the evidence does not suffice to show

 that Douglas would have obtained the GSS position at the time it was

 posted,even if the WCA had played no role in that determination by Citizens.

 He thus has shown no entitlement to relief beyond the injunction.




 Charles Magee



                                         -26-
Case 1:03-cv-01882-SEB-JMS    Document 523 Filed 06/03/09     Page 27 of 31 PageID
                                   #: 14786



       Citizens hired Charles Magee in June 1987. He worked in the

 manufacturing division as a Preventative Maintenance Mechanic from March

 1994 until the division was closed in the summer of 2007. At the time of trial,

 he was a member of the gas division labor pool, hoping to land a permanent

 position before the labor pool expired during the summer of 2009. In August

 2001, Magee bid on the Material Deliveryman position posting for the gas

 division, but had failed the WCA. He was denied the Material Deliveryman job

 on September 11, 2001, because of his failing score on the WCA. He did not

 file his EEOC charge within 300 days of being denied that job.


       In determining whether Magee would have been awarded a Material

 Deliveryman job even if the WCA had not been a part of the process, we

 undertake an analysis similar to that performed with regard to the GSS job

 posting. Citizens claims we should limit our consideration to the single

 Material Deliveryman opening that was filled from within the company which

 granted gas division bidders priority over anyone from manufacturing.

 However, the Material Deliveryman posting, in similar fashion to the GSS

 posting, provided Citizens contractual permission to bring in the three

 “experienced” outside hires it had selected on October 1, 2001. The issue of

 whether Magee possessed the experience and qualifications necessary to have

 been awarded the job prior to Citizens looking outside the utility, assuming the

 WCA had played no role in the process, must be answered affirmatively.



                                       -27-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 28 of 31 PageID
                                    #: 14787



       Only three bidders for the Material Deliveryman job were turned down

 based upon WCA scores. One of those, George Douglas, Jr., did not possess a

 CDL and would not have been eligible to receive the job. Charles Magee did

 have his CDL. Paul McKain, who was also denied the job on the basis of his

 score on the WCA, was more senior than Magee but had not indicated, in the

 qualifications portion of the bid form, that he possessed a CDL as Magee had.

 In addition, prior to working for Citizens, Magee had experience working on an

 asphalt crew and testified that he had performed many, if not most, of the

 listed duties of a Material Deliveryman. Citizens was not favorably impressed

 by what it regarded as the outdated experience upon which Magee relied in

 establishing his qualifications and also raised again the issue of safety, noting

 that the Material Deliveryman position was not an entry level position and that

 individuals in that role were required to assist the crew with gas line piping

 repairs and other critical and sometimes dangerous activities. In addition,

 each of the three individuals who were hired from outside the company had

 had experience in gas distribution, having worked for a contractor that

 performed gas pipe installation work for the utility.



    While we believe that Citizens’s emphasis on safety is legitimate, the

 evidence they offered with regard to Magee’s lack of prior direct experience as a

 Material Deliveryman is not ultimately convincing. Given that Citizens was




                                        -28-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 29 of 31 PageID
                                    #: 14788



 willing to allow the admittedly unqualified Louis Drane to fill one of eight GSS

 jobs because, at the time, it could only provide significant training to one of the

 eight people who would fill the open spots, and given the CBO requirement that

 it apply a consistent assessment standard in evaluating the qualifications of

 employees within its workforce, we are convinced that Citizens would have

 selected Magee to fill one of the four Material Deliveryman openings, due to his

 having had at least some relevant experience for the position, even though he

 likely would have required additional training.


       Unfortunately, however, for Mr. Magee this finding does not open the

 door to the relief he seeks because, as we have discussed, his EEOC charge

 was timely only with regard to his having been required to take and pass the

 WCA, not to his having been denied a specific job. Only if he had filed a timely

 charge or if, by law, he was permitted to “piggy-back” on the charge of another

 would he potentially be entitled to an additional award of equitable relief. But,

 as we have shown, that is not the case and he is entitled to no relief beyond the

 injunctive relief we have previously awarded.




                                 Injunctive Relief


       Prior to this litigation, a conciliation agreement with Citizens was

 negotiated by the EEOC, which included a prohibition against any further use


                                        -29-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09      Page 30 of 31 PageID
                                    #: 14789



 of the WCA. In addition, Citizens voluntarily ceased using any form of

 screening test. Regretably, a final resolution of this case had been long in

 coming, but with regard to the Court’s issuance of final injunctive relief, no

 prejudice has resulted from this delay because of Citizens’s voluntary

 forbearance. Having reached the point now where the only action remaining

 for the Court to take is to enter an injunction, we do so, while deferring

 Plaintiffs’ petition for attorneys fees and an award of costs for subsequent

 consideration. We encourage the parties to confer within thirty (30) days of the

 date of this order in an effort to reach an agreement on these remaining issues.

 To the extent the parties do not achieve a negotiated resolution of them, a

 request should be made to the assigned Magistrate Judge for assistance in

 resolving the remaining issues. Thereafter, should these issues persist, the

 undersigned judge should be notified forthwith so an appropriate schedule can

 be set to meet.


                                    Conclusion


       Because none of the remaining Plaintiffs filed a timely charge of

 discrimination with the EEOC with respect to the denial of or transfer to a

 specific position in the gas division at Citizens, recovery for the unintended

 discriminatory impact of Citizens’s reliance upon the WCA shall be and is

 hereby limited to injunctive relief barring Citizens from any and all future use

 of or reliance on the WCA, or the Plaintiffs’ test scores for any purpose.


                                        -30-
Case 1:03-cv-01882-SEB-JMS     Document 523 Filed 06/03/09           Page 31 of 31 PageID
                                    #: 14790



 Citizens is further enjoined from creating, imposing, requiring or otherwise

 instituting a similar screening test relating to job transfers, promotions, or

 entitlement to advancement.


       IT IS SO ORDERED



  Date: 06/03/2009

                                                   _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana




 Copies to:

 Wayne O. Adams III                            rwaicukauski@price-law.com
 ICE MILLER LLP
 wayne.adams@icemiller.com

 Robert David Eaglesfield III
 PRICE WAICUKAUSKI & RILEY
 deaglesfield@price-law.com

 Susannah M. Pieper
 ICE MILLER LLP
 susannah.pieper@icemiller.com


 Henry J. Price
 PRICE WAICUKAUSKI & RILEY
 hprice@price-law.com

 William N. Riley
 PRICE WAICUKAUSKI & RILEY
 wriley@price-law.com

 Ronald J. Waicukauski
 PRICE WAICUKAUSKI & RILEY

                                        -31-
